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 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   ROGER McINTOSH,                                            CASE NO. CV F 07-1080 LJO GSA
12                         Plaintiff,                           ORDER ON PLAINTIFF’S MOTIONS IN
                                                                LIMINE
13          vs.                                                 (Docs. 206-211.)
14   NORTHERN CALIFORNIA
     UNIVERSAL ENTERPRISES,
15   INC., et al,
16                         Defendants.
                                                    /
17
18          Plaintiff Roger McIntosh (“Mr. McIntosh”) filed six motions in limine. Defendants Northern
19   California Universal Enterprises Company, Inc. (“NCUE”), Lotus Developments, L.P. (“Lotus”), Dennis
20   W. DeWalt, Inc. (“DeWalt”), and City of Wasco (“Wasco”) oppose Mr. McIntosh’s motions in limine.
21   The parties’ moving and opposition papers are clear. This Court needs no oral argument on Mr.
22   McIntosh’s motions in limine. This Court issues the following rulings on Mr. McIntosh’s motions in
23   limine and VACATES the February 12, 2010 hearing on Mr. McIntosh’s motions in limine.
24   MR. McINTOSH’S MIL1 NO. 1 TO EXCLUDE WASCO EXPERT OPINION WHETHER MR.
25   McINTOSH’S COPYRIGHTED WORKS AND MAP 6451 ARE SUBSTANTIALLY SIMILAR
26          Mr. McIntosh seeks to exclude opinion of Wasco civil engineer expert Steven Wong (“Mr.
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28          1
                   As used in headings, “MIL” refers to motion in limine.

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 1   Wong”) whether Mr. McIntosh’s copyrighted works and Map 6451 are substantially similar as legal
 2   conclusion beyond Mr. Wong’s expertise.
 3          Wasco appears to limit Mr. Wong’s testimony as to his observations between Mr. McIntosh’s
 4   copyrighted works and Tentative and Final Maps 6451 without concluding that they are substantially
 5   similar. Wasco concedes that Mr. Wong is unqualified to opine on a legal conclusion that Mr.
 6   McIntosh’s copyrighted works and Tentative and Final Maps 6451 are substantially similar. As such,
 7   Mr. Wong’s testimony is properly limited to his observations between Mr. McIntosh’s copyrighted
 8   works, on one hand, and Tentative and Final Maps 6451, on the other hand, without concluding that they
 9   are substantially similar.
10                                                 ORDER
11          This Court GRANTS the motion in limine insofar as to LIMIT Mr. Wong’s testimony as to his
12   observations between Mr. McIntosh’s copyrighted works, on the one hand, and Tentative and Final
13   Maps 6451, on the other hand, without concluding that they are substantially similar.
14   MR. McINTOSH’S MIL NO. 2 TO EXCLUDE EVIDENCE OF PRIOR LITIGATION
15          Mr. McIntosh seeks to exclude evidence that his former Martin-McIntosh partnership pursued
16   a breach of contract claim against Wasco arising from original developer Legacy Group, L.P.’s failed
17   original subdivision development.
18          Wasco fails to demonstrate how the prior litigation supports impeachment. Wasco does not
19   identify the evidence it intends to use for impeachment and presumably such evidence is Mr. McIntosh’s
20   settlement demands or agreed to settlement.
21          Wasco fails to address the relevance of Mr. McIntosh’s prior, resolved breach of contract claim
22   – either for Mr. McIntosh’s impeachment or motive to support a post-judgment award of attorney fees.
23   Wasco does not claim an offset based on amounts Mr. McIntosh received to settle the claim. Evidence
24   of the prior claim would serve to disparage Mr. McIntosh and confuse issues.
25                                                 ORDER
26          This Court GRANTS the motion in limine to EXCLUDE evidence of Mr. McIntosh’s prior
27   litigation and settlement.
28   ///

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 1   MR. McINTOSH’S MIL NO. 3 TO LIMIT DeWALT WITNESSES AS TO HOW TENTATIVE
 2   AND FINAL MAPS 6451 WERE DRAWN
 3            Mr. McIntosh seeks to limit testimony as to drawing of Tentative and Final Maps 6451 to four
 4   former or current DeWalt employees and to prohibit new witness testimony as to how details of Map
 5   6451 were determined.
 6            In the absence of DeWalt discovery responses to identify additional witnesses, testimony of
 7   Tentative and Final Map 6451 drawing is limited to Jeff Gutierrez, Greg Black, Sarah Burgi and Josh
 8   Woodward. However, these witnesses are not limited to their deposition testimony (as defendants claim
 9   Mr. McIntosh seeks) but may be impeached with it.
10                                                    ORDER
11            This Court GRANTS the motion in limine to LIMIT testimony of Tentative and Final Map 6451
12   drawing to Jeff Gutierrez, Greg Black, Sarah Burgi and Josh Woodward but their trial testimony is not
13   limited to the scope of their deposition testimony.
14   MR. McINTOSH’S MIL NO. 4 TO EXCLUDE DEFENDANTS’ EXPENSES IN DAMAGES
15   PHASE
16            If Mr. McIntosh proves defendants’ willful copyright infringement during the liability phase, Mr.
17   McIntosh seeks to exclude deduction of defendants’ expenses from their gross profits in the damages
18   phase.
19            Mr. McIntosh fails to substantiate his claim that defendants may not deduct expenses. 17 U.S.C.
20   § 504(b) provides: “In establishing the infringer's profits, the copyright owner is required to present
21   proof only of the infringer's gross revenue, and the infringer is required to prove his or her deductible
22   expenses and the elements of profit attributable to factors other than the copyrighted work.” The statute
23   is contrary to Mr. McIntosh’s position
24                                                    ORDER
25            This Court DENIES the motion in limine.
26   MR. McINTOSH’S MIL NO. 5 TO EXCLUDE WASCO’S BOND DEBT AS A DEDUCTION
27   TO PROFITS
28            If Mr. McIntosh proves copyright infringement, Mr. McIntosh seeks to exclude Wasco’s bond

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 1   debts to deduct as an expense from profits.
 2          The parties fail to quantify the bond debts. The bond debts were incurred years prior to alleged
 3   infringement. Wasco fails to establish how bond debts incurred in the early 1990s are germane to Wasco
 4   profits earned more than 10 years later. The bond debts are too removed and disconnected from alleged
 5   profits from infringement to constitute deductible expenses.
 6                                                   ORDER
 7          This Court GRANTS the motion in limine to EXCLUDE evidence of Wasco’s bond debts.
 8   MR. McINTOSH’S MIL NO. 6 TO EXCLUDE SURVEYOR HEATH JAMES
 9          Mr. McIntosh seeks to exclude former DeWalt surveyor Heath James’ testimony in that DeWalt
10   delayed until the pretrial statement witness list to provide James’ correct name and address, and Mr.
11   McIntosh has not deposed James.
12          F.R.Civ.P. 37(c)(1) addresses failure to provide discovery disclosures or supplements and
13   provides:
14                  If a party fails to provide information or identify a witness as required by Rule
            26(a) or (e), the party is not allowed to use that information or witness . . . at a trial,
15          unless the failure was substantially justified or is harmless. In addition to or instead of
            this sanction, the court . . .
16
                   (A) may order payment of the reasonable expenses, including attorney’s fees,
17          caused by the failure;
18                   (B) may inform the jury of the party’s failure; and
19                 (C) may impose other appropriate sanctions, including any of the orders listed in
            Rule 37(b)(2)(A)(i)-(vi).
20
21          There is no indication that DeWalt fulfilled its affirmative duty to update or supplement its
22   discovery disclosures or responses to reveal James’ place of employment to enable Mr. McIntosh to
23   subpoena James without undue effort or expense. The record before this Court suggests that DeWalt
24   desired to spring James’ testimony without the benefit to Mr. McIntosh of James’ deposition. The
25   proper recourse for DeWalt’s failure to satisfy its F.R.Civ.P. 26(e)(1) obligations is to exclude James
26   as a witness.
27                                                   ORDER
28          This Court GRANTS the motion in limine insofar as to exclude JAMES as a witness but denies

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 1   other requested relief or sanctions.
 2                                   ORDER AS TO DUTY OF COUNSEL
 3           Counsel are cautioned against filing motions for reconsideration without legal prerequisites
 4   firmly established.    Failure of counsel to raise or articulate points or issues does not justify
 5   reconsideration.
 6           Counsel are discouraged from filing motions “for clarification” when such motions are nothing
 7   more than a statement of disagreement with the Court’s ruling and/or an attempt to modify the ruling.
 8   Being surprised at the Court’s ruling, no matter where the I.Q. chart’s result lands, is not a basis for such
 9   a motion.
10           During trial, the parties’ counsel shall meet with the Court each morning prior to jury arrival to
11   address evidentiary issues and disputes. The jury will NOT be kept waiting. The Court will rule on
12   matters to the extent possible prior to commencement of trial each day out of the jury’s presence. If such
13   ruling depends on receipt of testimony or other evidence, the Court will rule as appropriate upon the
14   receipt of such testimony or evidence. If evidentiary problems are anticipated, the parties’ counsel are
15   required to notify the Court immediately that a hearing outside the jury’s presence will be required, but
16   should not expect such hearing while the jury waits in the jury room. Such hearings will take place
17   before jurors arrive or after they depart.
18           Finally, should objections be made in front of the jury on a purported violation of a motion in
19   limine ruling, counsel are expected to object stating the LEGAL ground, followed by reference to the
20   number of the motion in limine (e.g., “Objection, relevance, violation of plaintiff’s motion in limine no.
21   4.”)
22           IT IS SO ORDERED.
23   Dated:      February 10, 2010                      /s/ Lawrence J. O'Neill
     66h44d                                         UNITED STATES DISTRICT JUDGE
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